Case 1:18-cv-00336-RC Document 3 Filed 05/21/18 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
ROQUE “ROCKY” DE LA FUENTE AND
5440 Morehouse Drive
Suite 4000
San Diego, CA 92121

ROCKY 2016 LLC
5440 Morehouse Drive
Suite 4000

San Diego, CA 92121

Vv. Case: 1:18-cv-00336 Jury Demand
Assigned To: Contreras, Rudolph

DNC SERVICES CORPORATION, d/b/a Assign: Date 2/20/2018

d/b/a DEMOCRATIC NATIONAL Description: Pro Se Gen. Civil (F Deck)
COMMITTEE, :

AND

430 South Capitol Street, S.E.

Washington, D.C. 20004

DEBORAH WASSERMAN SCHULTZ i
1114 Longworth House Office Building : JURY TRIAL

Washington D.C. 20515 ‘ DEMANDED
CERTIFICATE OF SERVICE

 

Plaintiff hereby certifies that on May 21, 2018, he caused Paul A. Rossi,
Esq., to serve two (2) true and correct copies of the complaint filed with this Court
on February 20, 2018 and the summons issued by this Court upon Defendant

DEBORAH WASSERMAN SCHULTZ at 1114 Longworth Office Building,

 

Washington D.C. 20515. ( :

Dated: May 21, 2018 _ A \ ~~ —~<——-REC
Req tie “Rocky” De La Fuente
Plaintiff acting pro se
Case 1:18-cv-00336-RC Document 3 Filed 05/21/18 Page 2 of 2

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CERTIFICATE OF SERVICE

 

Plaintiff hereby certifies that on May 21, 2018, Paul A. Rossi, Esq., served
two (2) true and correct copies of the complaint filed with this Court on February
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CORPORATION d/b/a DEMOCRATIC NATIONAL COM “) at 430 South

Dated: May 21, 2018 Ke Ton
ROque “Roky De id Fuentes
_/ Plaintiff acting pro s 7

Capitol Street, S.E. Washington D.C{ 20004,

 

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